Case 4:12-cv-40022-TSH Document 1-9 Filed 02/27/12 Pagelof1l cy}, bit G

CONFIDENTIAL

THIRD WRITTEN WARNING

TO: Susan Trainor, Staff Assistant
. —,,
FROM: Karen Cordio, Program Manager
DATE: April 6, 2011
RE: Tardiness

| issued you a verbal warning on January 26, 2011 and a written warning on March 8, 2011 in
regards to your failure to call in when you will be late. On Friday April 1, 2011 you did not
arrive to work until 8:50am and failed to contact me to inform me you would be late. Today
you did not arrive to work until 8:10am and failed to contact me again. This is violation of
MART’s policy. As you are aware you must notify me anytime you will be late for work and as
noted in MART’s Personnel Policy “Employees are expected to telephone a Supervisor each day
or partial day they are out sick prior to their scheduled report time. Failure to notify the office

may result in denial of leave benefits or disciplinary action by the Supervisor or Administrator.”

As per a discussion with MART’s Administrator, if you fail to call in when you are going to be
late again, your employment with MART will be terminated. .

This memo will be part of your personnel file.
C: Mohammed Khan, Administrator

Donna Landry, Human Resources/Director of Operations
Cheryl Montuori, Program Director
